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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)



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 In Re:                                                   Case No.:     21-30589 (MBK)

 LTL MANAGEMENT LLC,                                      Judge:       Michael B. Kaplan

                       Debtor                             Chapter 11

                                    CERTIFICATION OF SERVICE

     1. I, Karla M. Quirk:

                    represent [ ]                  in this matter.

                  X am the secretary/paralegal for Bernstein, Shur, Sawyer & Nelson, P.A., who
                  represents the Fee Examiner in this matter.

                    am the [ ]                         in this case and am representing myself.
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    2. On 6/27/22, I sent a copy of the following pleadings and/or documents to the parties
       listed in the chart below.

        DE 2612 Second Monthly Fee Statement of Traurig Law LLC;
        DE 2613 Second Monthly Fee Statement of Robert J. Keach as Fee Examiner; and
        DE 2614 Second Monthly Fee Statement of Bernstein, Shur, Sawyer & Nelson, P.A.

    3. I certify under penalty of perjury that the above documents were sent using the mode of
       service indicated.


    Date: June 27, 2022                             /s/ Karla M. Quirk
                                                    Karla M. Quirk, Paralegal

   Name and Address of Party Served        Relationship of Party to            Mode of Service
                                                  the Case
                                                                        Hand-delivered
   See Attached Exhibit A                                               Regular Mail
                                                                        Certified mail/RR
                                                                      X Other email
                                                                           (As authorized by the Court or by rule.
                                                                       Cite the rule if applicable)




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